Case 2:22-cv-02135-TC-TJJ Document 1-1 Filed 04/14/22 Page 1 of 2




      EXHIBIT 1
          Case 2:22-cv-02135-TC-TJJ Document 1-1 Filed 04/14/22 Page 2 of 2




CERTIRCATE OF COPYRIGHT REGISTRATION
                                                                                                                        •

                                                                                                           _._   .   ____
                         AM '~ AVI UOI •
                           X itb f r au kll

                        10 '1w
                        ::'.\NI
     NOTE  .....        lxttat M o,Aol         "i;



 --   ---
     ...........
     . . "11ii.lW • •




...                                                           ~--..--
                                                               , ....
                                                     °"'°'"""'""•----------- 11.-J-al

                                                                                            ............
..
:r
C
 C
 r
                         ,O U ot   Aiituok •


 N
 a




                                                             1\ 8 Wlftfnrtt AV#>.
                                                             "®l.UC'A , C,,\9 lOOJ

                                                           ,..._,_"'r .. - ~.
                                                          -~
                                                                . ..............
                                                                 , ............   •l'l!!I
